         Case 23-80016-sgj11                      Doc 1        Filed 12/19/23 Entered 12/19/23 21:54:34                               Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                           Northern District of Texas
                                        (State)

 Case number (If known):                                          Chapter 11                                                           Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor’s name                           Impel Pharmaceuticals Inc.



 2.   All other names debtor used             Impel NeuroPharma, Inc.
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names




 3.   Debtor’s federal Employer
                                              2      6   ‒    3     0   5   8   2     3     8
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                             of business

                                              201 Elliot Avenue West
                                              Number          Street                                         Number      Street

                                              Suite 260
                                                                                                             P.O. Box

                                              Seattle                               WA           98119
                                              City                                  State       ZIP Code     City                        State        ZIP Code

                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business

                                              King
                                              County                                                         Number      Street




                                                                                                             City                        State        ZIP Code




 5.   Debtor’s website (URL)                  https://www.impelpharma.com




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Debtor        Impel Pharmaceuticals Inc.                                                       Case number (if known)
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify:

                                           A. Check one:
 7.   Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                               3     2     5    4

 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12



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Debtor         Impel Pharmaceuticals Inc.                                                          Case number (if known)
               Name



 9.   Were prior bankruptcy cases            No
      filed by or against the debtor
      within the last 8 years?                Yes. District                                When                            Case number
                                                                                                    MM / DD / YYYY
      If more than 2 cases, attach a
                                                       District                             When                            Case number
      separate list.
                                                                                                    MM / DD / YYYY


 10. Are any bankruptcy cases                 No
      pending or being filed by a
      business partner or an                 Yes. Debtor See Schedule 1                                                    Relationship   Afilliate
      affiliate of the debtor?               District Northern District of Texas                                            When           12/19/2023
                                                                                                                                           MM / DD          / YYYY
      List all cases. If more than 1,
      attach a separate list.                          Case number, if known



 11. Why is the case filed in this           Check all that apply:
      district?                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have              No
      possession of any real
                                               Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard?

                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                       Other


                                                      Where is the property?
                                                                                   Number          Street




                                                                                   City                                                    State ZIP Code


                                                      Is the property insured?
                                                       No
                                                       Yes. Insurance agency
                                                                  Contact name

                                                                  Phone




              Statistical and administrative information




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Debtor        Impel Pharmaceuticals Inc.                                                    Case number (if known)
              Name


18. Signature of attorney                  /s/ Rakhee V. Patel                                          Date         12/19/2023
                                           Signature of attorney for debtor                                          MM/DD/YYYY


                                           Rakhee Patel
                                           Printed name
                                           Sidley Austin LLP
                                           Firm name

                                           2021 McKinney Ave, Suite 2000
                                           Number                   Street

                                           Dallas                                                               Texas              75201
                                                                                                                State                  ZIP Code
                                           City
                                           (214) 981-3421                                                       rpatel@sidley.com
                                           Contact phone                                                               Email address
                                           00797213                                           Texas
                                           Bar number                                         State




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Fill in this information to identify the case:

United States Bankruptcy Court for the:


                          Northern District of Texas
                                      (State)

Case number (If known):                                 Chapter 11                                   Check if this is an
                                                                                                       amended filing



                                                                     Schedule 1

                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

              On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
      in the United States Bankruptcy Court for the Northern District of Texas for relief under chapter 11 of
      title 11 of the United States Code. The Debtors have moved for joint administration of these cases
      under the case number assigned to the chapter 11 case of Impel Pharmaceuticals Inc.

      Impel Pharmaceuticals Inc.
      Impel NeuroPharma Australia Pty Ltd
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Official Form 201A (12/15)


                                           IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE NORTHERN DISTRICT OF TEXAS


             In re:                                                                   Chapter 11

             IMPEL PHARMACEUTICALS INC.,                                              Case No. 23-_____ (___)

                                              Debtor.


                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                   If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
               number is     CIK1445499

                   The following financial data is the latest available information and refers to the debtor’s condition on
               September 30, 2023


                      Total assets                                                    $    35,073,000
                      Total debts (including debts listed in 2.c., below)             $    126,978,000
                      Debt securities held by more than 500 holders

                      secured    ☐     unsecured    ☐     subordinated      ☐   $
                      secured    ☐     unsecured    ☐     subordinated      ☐   $
                      secured    ☐     unsecured    ☐     subordinated      ☐   $
                      secured    ☐     unsecured    ☐     subordinated      ☐   $
                      secured    ☐     unsecured    ☐     subordinated      ☐   $


                      Number of shares of preferred stock                                                                 0
                      Number of shares of common stock                                                                    23,749,005


                    Comments, if any:   Total assets and total debts are listed as set forth in the Debtor’s unaudited balance sheet for
               fiscal period ended September 30, 2023. To the Debtor’s knowledge, the shares of common stock listed above are
               those outstanding as of September 30, 2023.


                   Brief description of debtor’s business:   The Debtor is a commercial-stage biopharmaceutical company with a
               mission to develop transformative therapies for people suffering from diseases with unmet medical needs, including the
               acute treatment of migraine headaches via the Debtor’s flagship drug—Trudhesa.


                   List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
               securities of debtor:
               KKR Iris Investors; NORWEST VENTURE PARTNERS XIV LP; 5AM Ventures V, L.P.; Vivo Capital LLC; and
               Venbio Capital LLC




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS


    In re:                                                         Chapter 11

    IMPEL PHARMACEUTICALS INC.,                                    Case No. 23-_____ (___)

                              Debtor.


                     LIST OF REGISTERED EQUITY SECURITY HOLDERS 1

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following is
a list of holders of equity securities of the above-captioned debtor.

             Equity Holder                  Address of Equity Holder               Percentage of Equity Held
                 N/A                                  N/A                                    N/A




1
      By the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to (A) File a Consolidated
      Creditor Matrix and (B) File a Consolidated List of 30 Largest Unsecured Creditors; (II) Waiving the
      Requirement to File a List of Equity Security Holders; (III) Authorizing the Debtors to Redact Certain Personal
      Identifying Information; (IV) Approving the Form and Manner of Notifying Creditors of the Commencement of
      the Chapter 11 Cases and Other Information; and (V) Granting Related Relief filed contemporaneously herewith,
      the Debtor is requesting a waiver of the requirement under Bankruptcy Rule 1007 to file a list of all of its equity
      security holders.
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS


 In re:                                             Chapter 11

 IMPEL PHARMACEUTICALS INC.,                        Case No. 23-_____ (___)

                       Debtor.


                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interests.

 Shareholder                                     Approximate Percentage of Shares Held
 KKR Iris Investors                              17.3%
 NORWEST VENTURE PARTNERS XIV LP                 13.0%
 5AM Ventures V, L.P.                            12.1%
 Vivo Capital LLC                                12.1%
 Venbio Capital LLC                              11.6%
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                  RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                        IMPEL PHARMACEUTICALS INC.
                             (a Delaware corporation)

       Pursuant to a special meeting (the “Meeting”) of the board of directors (the “Board”) of
Impel Pharmaceuticals Inc., a Delaware corporation (the “Company”), at which a quorum was
present, upon a motion duly made and seconded and acting pursuant to the Company’s
organizational documents, the members of the Board, constituting all of the directors then in office,
took the following actions and adopted the following resolutions:

        WHEREAS, pursuant to the Delaware General Corporation Law (“DGCL”) and the
Company’s Amended and Restated Bylaws (the “Bylaws”), the Board is authorized to consent to,
adopt, and approve the following resolutions and each and every action effected thereby;

        WHEREAS, the Board has reviewed and considered the materials presented by, or on
behalf of, the Company’s management (“Management”) and financial and legal advisors
(collectively, the “Advisors”), including, but not limited to, materials regarding the liabilities,
obligations, and liquidity of the Company, the strategic alternatives available to the Company, and
the impact of the foregoing on the Company’s business;

        WHEREAS, the Board has determined that in light of the current circumstances of the
Company and its subsidiary, it is in the best interests of the Company, its creditors, equity holders,
subsidiaries, and employees that the Company have access to additional guidance, expertise, and
assistance in the form of a Chief Restructuring Officer; and

       WHEREAS, the Board has considered presentations from the Company’s management
and advisors concerning the potential appointment of a Chief Restructuring Officer for the
Company and determined that it is in the best interests of the Company, its creditors, equity
holders, subsidiaries, and employees that the Company retain Mr. Brandon Smith to provide
services as their Chief Restructuring Officer (the “CRO”); and

       WHEREAS, the Board has been provided with and given the opportunity to review a form
of engagement letter for the CRO engagement and determined that the Company’s execution of
such engagement letter, including the indemnification and reimbursement provisions thereof, is
reasonable and in the best interests of the Company, its creditors, equity holders, subsidiaries, and
employees; and

        WHEREAS, the Board deems it to be advisable and in the best interest of the Company to
enter into that certain Asset Purchase Agreement by and among the Company and JN Bidco LLC,
a Puerto Rico limited liability company, in substantially the form attached hereto as Exhibit A (the
“Asset Purchase Agreement”), pursuant to which, among other things the Purchaser will purchase
substantially all of the assets of the Company and assuming certain liabilities of the Company upon
the terms and conditions of the Asset Purchase Agreement (the “Specified Transaction”);
WHEREAS, the Board has reviewed and considered presentations by Management and
the Advisors of the Company regarding the advantages and disadvantages of filing voluntary
petitions for relief (the “Bankruptcy Petitions”) pursuant to chapter 11 of title 11 of the United
States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) and have had adequate
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opportunity to consult such persons regarding the materials presented, obtain additional
information, and to fully consider each of the strategic alternatives available to the Company; and

        WHEREAS, the Board has determined, in its business judgment, that the following
resolutions are advisable and in the best interests of the Company, its interest holders, its
subsidiaries, its creditors, other stakeholders, and other parties in interest.

       NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the applicable
governing documents of the Company, the undersigned do hereby adopt the following resolutions:

1.     Appointment of CRO

      RESOLVED, that Mr. Brandon Smith of Teneo Capital LLC is hereby appointed as the
CRO of the Company;

       RESOLVED FURTHER, that effective immediately, the Board hereby determines that
Mr. Smith shall be deemed an “officer” of the Company within the meaning of Section 16 of, and
Rule 16a-1(f) of the rules promulgated under, the Exchange Act and an “executive officer” of the
Company within the meaning of Item 401(b) of Regulation S-K, Rule 3b-7 promulgated under the
Exchange Act and Rule 405 promulgated under the Securities Act of 1933, as amended;

        RESOLVED FURTHER, that the Company is hereby authorized to retain Teneo Capital
LLC (“Teneo”) to provide interim management services to the Company and to compensate Teneo
for the provision of such services on the terms previously presented to the Board;

2.     Approval of Asset Purchase Agreement

     RESOLVED FURTHER, that the form terms and provisions of the Asset Purchase
Agreement, including all exhibits and schedules attached thereto (collectively, the “Specified
Transaction Documents”), be and here are, determined to be fair, advisable and in the best interest
of the Company and that the Asset Purchase Agreement be, and hereby is, adopted and approved
in all respects;

        RESOLVED FURTHER, that the Company shall be, and hereby is, and the Authorized
Persons shall be, and each of them, acting alone, hereby is, in the name and on behalf of the
Company, authorized, directed and empowered to execute and deliver the Asset Purchase
Agreement and the Specified Transaction Documents, subject to such modifications thereto as the
Board or Management may deem necessary or advisable (the approval of which to be conclusively
established by the execution thereof by an Authorized Person);

       RESOLVED FURTHER, in addition to the specific authorizations heretofore conferred
upon the Authorized Persons, the Authorized Persons, either individually or as otherwise required
by each Company’s Governing Documents and applicable law, be, and each of them hereby is,
authorized to execute (under hand or under the common seal of the Company if appropriate),
acknowledge, deliver, and file any and all agreements, certificates, instruments, powers of
attorney, letters, forms, transfer, deeds and other documents on behalf of the Company relating to
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the Asset Purchase Agreement and the Specified Transaction Documents.

3.     Chapter 11 Filing

        RESOLVED, that the members of the Board have considered their fiduciary duties under
applicable law in exercising their powers and discharging their duties, to act honestly and in good
faith with a view to the best interests of the Company as a whole, to exercise the care, diligence,
and skill that a reasonably prudent person would exercise in comparable circumstances, and, as
applicable, with consideration to the Company’s public benefit purpose;

        RESOLVED FURTHER, that in the judgment of the Board, it is desirable and in the best
interests of the Company, its interest holders, subsidiaries, creditors, other stakeholder, and other
parties in interest, that the Company shall be, and hereby is, in all respects authorized to file, or
cause to be filed, the Bankruptcy Petitions under the provisions of chapter 11 of the Bankruptcy
Code in the United States Bankruptcy Court for the Northern District of Texas (the “Bankruptcy
Court”) for the Company and any of its subsidiaries, and any other petition for relief or recognition
or other order that may be desirable under applicable law in the United States, and, in accordance
with the requirements of the Company’s governing documents and applicable law, hereby consents
to, authorizes, and approves, the filing of the Bankruptcy Petitions (the chapter 11 cases initiated
by the filing of the Bankruptcy Petitions, the “Chapter 11 Cases”);

       RESOLVED FURTHER, that any director or duly appointed officer of the Company,
each acting individually and with full power of substitution (together with any persons to whom
such persons delegate certain responsibilities, collectively, the “Authorized Persons”) be, and
hereby is, authorized to execute and file on behalf of the Company all petitions, schedules, lists,
and other motions, papers, or documents, and to take any and all action that such Authorized
Person deems necessary or proper to obtain such relief, including, but not limited to, any action
necessary or proper to maintain the ordinary course operations of the Company and/or obtain
additional financing in accordance with the Bankruptcy Code.

4.     Retention of Professionals

        RESOLVED, that each of the Authorized Persons, acting individually and with full power
of substitution, be, and hereby is, authorized, empowered and directed to retain the following
professionals on behalf of the Company: (i) the law firm of Sidley Austin LLP, as general
bankruptcy counsel; (ii) the law firm of Fenwick & West LLP as special corporate counsel (iii) the
investment banking firm of Moelis & Company as investment banker; (iv) Omni Agent Solutions,
as claims and noticing agent and administrative advisor; and (v) any other legal counsel,
accountants, financial advisors, restructuring advisors, or other professionals as such Authorized
Person deems necessary, appropriate, or advisable to represent and assist the Company in carrying
out its duties and responsibilities and exercising its rights under the Bankruptcy Code and any
applicable law (including, but not limited to, the law firms filing any pleadings or responses) and
to take any and all actions to advance the rights and obligations of the Company, including filing
any motions, objections, replies, applications, or pleadings; and in connection therewith, each of
the Authorized Persons be, and hereby is authorized, empowered, and directed, in accordance with
the terms and conditions hereof, to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed appropriate applications for authority to retain such services; and
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        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby are,
authorized and empowered and directed to execute and file all petitions, schedules, motions, lists,
applications, pleadings, or other papers, and to perform such further actions and execute such
further documentation that the Authorized Persons in their absolute discretion deem necessary,
appropriate, or desirable in accordance with these resolutions.

5.     Use of Cash Collateral and Adequate Protection

        RESOLVED, that the Company will obtain benefits from the use of its property, including
cash collateral (as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash
Collateral”)), which is security for certain of the Company’s prepetition secured lenders under
certain credit facilities by and among the Company, the guarantors party thereto, and the lenders
party thereto (the “Prepetition Secured Lenders”);

        RESOLVED FURTHER, each of the Authorized Persons be, and hereby are, authorized,
directed, and empowered in the name of, and on behalf of, the Company to seek approval of the
use of cash collateral pursuant to a cash collateral order in interim and final form (a “Cash
Collateral Order”), and any Authorized Person be, and hereby is, authorized, empowered, and
directed to negotiate, execute, and deliver any and all agreements, instruments, or documents, by
or on behalf of the Company, necessary or advisable to implement the Cash Collateral Order,
including providing for adequate protection to the Prepetition Secured Lenders in accordance with
section 363 of the Bankruptcy Code (the “Adequate Protection Obligations”), as well as any
additional or further agreements for the use of cash collateral in connection with the chapter 11
cases, which agreement(s) may require the Company to grant adequate protection and security
interests to the Prepetition Secured Lenders and each other agreement, instrument, or document to
be executed and delivered in connection therewith, by or on behalf of the Company pursuant
thereto or in connection therewith, all with such changes therein and additions thereto as any
Authorized Person, such approval to be conclusively evidenced by the taking of such action or by
the execution and delivery thereof;

       RESOLVED FURTHER, that the Company, as debtors and debtors in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations.

6.     Marketing Process and Sale

        RESOLVED, that the Company, with the assistance of its Advisors, is authorized to
continue its fulsome marketing and sale process during the Chapter 11 Cases, including contacting,
discussing, negotiating, and soliciting offers from potential bidders, including conducting any
auction in connection therewith, in order to receive the highest or otherwise best offer for the sale
of the Company’s Assets (collectively, the “Sale Process”);

        RESOLVED FURTHER, that in the judgment of the Company, it is desirable and in the
best interests of each Company, its interest holders, its subsidiaries, its creditors, and other parties
in interest that each Company be, and hereby is, authorized to negotiate, execute, and enter into,
all required documentation to consummate any sale transaction for the highest or otherwise best
offer for the sale of any assets of each Company (the “Sale Transaction(s)”) (including any
stalking horse agreement, asset purchase agreements or any other agreements or documents
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evidencing any such sale (collectively, the “Purchase Agreement(s)”)), with such changes,
additions, and modifications thereto as an Authorized Person shall approve;

        RESOLVED FURTHER, that the Company shall be, and hereby is, and the Authorized
Persons shall be, and each of them, acting alone, hereby is, in the name and on behalf of the
Company, authorized, directed and empowered to seek entry of an order or orders authorizing
entry into any Purchase Agreement(s) and consummation of the Sale Transaction(s) contemplated
thereby, all substantially in accordance with documents that have been presented or will be
presented to the Board and/or filed with the Bankruptcy Court, subject to such modifications
thereto as the Board or Management may deem necessary or advisable (the approval of which to
be conclusively established by the execution thereof by an Authorized Person);

       RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and empowered to take any and all actions necessary or advisable to advance each
Company’s rights and obligations under any Purchase Agreement and/or the Sale Process,
including filing of additional pleadings with the Bankruptcy Court; and in connection therewith,
each Authorized Person, with power of delegation, is hereby authorized and directed to take all
necessary actions in furtherance of the foregoing resolutions;

       RESOLVED FURTHER, the Board hereby authorizes, adopts, approves, ratifies and
confirms the Sale Transaction(s) and each Company’s entry into the Purchase Agreement(s), and
each of the documents and agreements contemplated under any Purchase Agreement (the
“Transaction Documents”) to which the Company is a party, and the performance of the
Company’s obligations thereunder and (subject to the approval of the Bankruptcy Court) the
consummation of the Sale Transaction(s) contemplated thereby;

        RESOLVED FURTHER, that each Authorized Person hereby is authorized and
empowered to execute and deliver any Purchase Agreement(s), any Transaction Documents and
any and all certificates, agreements, instruments, documents and undertakings of any kind and
nature contemplated thereunder to which each Company is to be a party or as are necessary or
appropriate to consummate the Sale Transaction(s) contemplated by any Purchase Agreement(s)
and the Transaction Documents, in the name and on behalf of each Company, with such additions,
deletions or changes therein (including, without limitation, any additions, deletions or changes to
any schedules or exhibits thereto) as the Authorized Person executing the same shall approve (the
execution and delivery thereof by the Authorized Person to be conclusive evidence of such
Authorized Person’s approval of any such additions, deletions or changes);

       RESOLVED FURTHER, in addition to the specific authorizations heretofore conferred
upon the Authorized Persons, the Authorized Persons, either individually or as otherwise required
by each Company’s Governing Documents and applicable law, be, and each of them hereby is,
authorized to execute (under hand or under the common seal of the Company if appropriate),
acknowledge, deliver, and file any and all agreements, certificates, instruments, powers of
attorney, letters, forms, transfer, deeds and other documents on behalf of the Company relating to
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any Purchase Agreement(s) and the Transaction Documents;

7.     Further Actions and Prior Acts

        RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, the Authorized Persons, either individually or as otherwise
required by the Company’s governing documents and applicable law, be, and each of them hereby
is, authorized to execute (under hand or under the common seal of the Company if appropriate),
acknowledge, deliver, and file any and all agreements, certificates, instruments, powers of
attorney, letters, forms, transfer, deeds and other documents on behalf of the Company relating to
the Chapter 11 Cases;

        RESOLVED FURTHER, that each of the Authorized Persons, each acting individually
and with full power of substitution be, and hereby is, authorized, empowered, and directed to
execute and file all petitions, schedules, motions, lists, applications, pleadings, and other papers,
and to perform such further actions and execute such further documentation that such Authorized
Person in their absolute discretion deems necessary, appropriate, or desirable in accordance with
these resolutions;

        RESOLVED FURTHER, that, in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, the Authorized Persons, either individually or as otherwise
required by the Company’s governing documents and applicable law, be, and each of them hereby
is, authorized to take any and all such other and further actions, and to do all such other deeds and
other things as the Company may lawfully do, in accordance with its governing documents and
applicable law, including but not limited to, the negotiation, finalization, execution,
acknowledgement, delivery, and filing of any and all agreements, certificates, instruments, powers
of attorney, letters, forms, transfer, deeds, and other documents on behalf of the Company, and
the payment of all expenses, including but not limited to filing fees, in each case as such
Authorized Person’s or Authorized Persons’ may, in his/her/its/their absolute and unfettered
discretion approve, deem or determine necessary, appropriate, advisable, or desirable in order to
fully carry out the intent and accomplish the purposes of the resolutions adopted herein; such
approval, deeming, or determination to be conclusively evidenced by said individual taking such
action or the execution thereof;

        RESOLVED FURTHER, that the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of the Company, or hereby waive any right to have received such
notice; and

         RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved, confirmed and
ratified as the true acts and deeds of the Company with the same force and effect as if each such
act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
of the Boards.
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                                         Exhibit A

                                  Asset Purchase Agreement
                                   (available upon request)
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      Fill in this information to identify the case:

      Debtor name Impel Pharmaceuticals, Inc., et al.

      United States Bankruptcy Court for the: Northern District of Texas______________

      Case number (If known):                                                                                                                    Check if this is
                                                                                                                                                     an amended
                                                                                                                                                     filing



Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do
    not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless
    the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.


     Name of creditor and complete             Name, telephone number, and         Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       email address of creditor           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                   professional          unliquidated,   total claim amount and deduction for value of
                                                                                   services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)
                                                                                                                         Total claim, if    Deduction for       Unsecured
                                                                                                                         partially          value of            claim
                                                                                                                         secured            collateral or
                                                                                                                                            setoff
     Symphony Health                          Natalia Garcia,                     Trade Debt             Liquidated                                           $482,358.75
1    4130 ParkLake Ave.                       52 55 4122 6141,
     Suite 400                                natalia.garcia2@iconplc.com
     Raleigh, NC 27612

     Good Apple                               646-450-7126,                       Trade Debt             Liquidated                                           $292,661.03
2    P.O. Box 1695                            accounting@goodapple.com
     Lakeville, CT 06039


     Pharmaceutical Data Services (PDS)       Jeremy Destito,                     Trade Debt             Liquidated                                           $201,500.00
3    3000 Whitney Ave.                        203-376-9803,
     Box 138                                  jeremy.destito@gopds.net
     Hamden, CT 06518

     ASPN Pharmacies, LLC                     Ronak Patel,                        Trade Debt             Liquidated                                           $120,000.00
4    200 Park Ave. Suite 300                  973-5648004,
     Florham Park, NJ 07932                   ronak.patel@asembia.com


     TrnDigital, LLC                          Shailendra Singh                    Trade Debt             Liquidated                                           $82,113.90
5    200 Portland St Floor 5                  860-460-6559,
     Boston, MA 02114                         shailendra.singh@trndigital.com


     PPD Development                          Gerald Maquera, 608-203-4020,       Trade Debt             Liquidated                                           $78,770.80
6    8551 Research Way, Suite 90,             gerald.maquera@ppd.com
     Middleton, WI 53562


     Amex                                     Shelly A. Laycock,                  Trade Debt             Liquidated                                           $70,000.00
7    200 Vesey Street                         480-559-7268,
     New York, NY 10285                       shelley.a.laycock@aexp.com


     Cardinal Health                          Vivek Kumar,                     Trade Debt                Liquidated                                           $69,626.22
8    7000 Cardinal Place,                     614.553.4460,
     Dublin, OH 43017                         vivek.kumar05@cardinalhealth.com




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                                                             Document     Page 19 of 21
                                                                                                     Case number (if known)
    Debtor          Impel Pharmaceuticals, Inc., et al.
                    Name




     Name of creditor and complete              Name, telephone number, and    Nature of the claim     Indicate if      Amount of unsecured claim
     mailing address, including zip code        email address of creditor      (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                                contact                        debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in
                                                                               professional            unliquidated,    total claim amount and deduction for value of
                                                                               services, and           or disputed      collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

     Phil, Inc                                Deepak Thomas,                  Trade Debt              Liquidated                                             $60,000.00
9    2443 Fillmore St. #380-1423 San          deepak@phil.us
     Francisco, CA 94115


     Citeline                                 David Ross                      Trade Debt              Liquidated                                             $56,921.70
10 Caerus US 1 Inc.                           646.984.4007
     1 Penn Plz Ste 2505                      david.ross@informa.com
     New York, NY 10119-2500

     Med Communications, Inc.                 Kristi Pearson,               Trade Debt                Liquidated                                             $53,276.00
11 5100 Poplar Ave. Suite 450                  901-578-3200,
     Memphis, TN 38137                        kristi.pearson@medcomminc.com


     SHOP-PR LLC_TWELVENOTE                   LaToria Jones,                  Trade Debt              Liquidated                                             $42,000.00
12 140 Broadway 28th Floor                    703-258-9066,
     New York, NY 10005                       ljones@lippetaylor.com


     Two Labs Holdings LLC                    Glenda Padilla                   Trade Debt             Liquidated                                             $35,290.30
13 110 Riverbend Ave. Suite 100                614.822.7738
      Powell OH 43065                         glenda.padilla@envisionpharma.co
                                              m

     CPA Global                               Jai Shekhawat 646-517-1527      Trade Debt              Liquidated                                             $33,378.32
14 2318 Mill Road 12th Floor                  jai.shekhawat@clarivate.com
     Alexandria, VA 22314


     QPharma                                  Melissa Raygada,              Trade Debt                Liquidated                                             $33,069.64
15 22 South St.                               973-656-0011,
     Morristown, NJ 07960                     Melissa.Raygada@qpharmacorp.c
                                              om

     Integrichain                             Jillian Smiley,                 Trade Debt              Liquidated                                             $32,000.00
16 8 Penn Center 1628 JFK Blvd. Suite         630-301-9608,
     300 Philadelphia, PA 19103               jsmiley@integrichain.com


     CFI Workspace                            Barbara Dockery                 Trade Debt              Liquidated                                             $31,290.56
17 7001 N. Park Dr.                           215.279.9410 ext 410
     Pennsauken, NJ 08109                     bdockery@cfiworkspace.com


     Donnelley Financial Solutions            Anne Livingston                 Trade Debt              Liquidated                                             $31,060.88
18 35 W. Wacker Drive                         855.542.9011
     Chicago IL 60601                         accounts-
                                              receivable@dfinsolutions.com

     CCG Corporate Mailings, Inc.             Annamarie Palk                  Trade Debt              Liquidated                                             $29,956.62
19 14 Henderson Dr,                           973.808.0009 ext, 2102
     West Caldwell, NJ 07006                  a_dannacher@corpcomm.com


     Juice Pharma Worldwide                   Chi Cheung                      Trade Debt              Liquidated                                             $26,000.00
20 132 West 31st St.                          212-367-2416,
     New York, NY 10001                       ccheung@juicepharma.com




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                                                           Document     Page 20 of 21
  Debtor          Impel Pharmaceuticals, Inc., et al.
                  Name

  Case number (if known)


   Name of creditor and complete              Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
   mailing address, including zip code        email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional          unliquidated,   total claim amount and deduction for value of
                                                                               services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if    Deduction for       Unsecured
                                                                                                                     partially          value of            claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff

   Clinigen CSM, Inc                        Nick Leary                       Trade Debt              Liquidated                                           $25,156.66
21 342 42nd St. S.                          267.603.5566
   Fargo, ND 58103                          nicholas.leary@clinigengroup.com


   Carepoint Healthcare LLC                 Bhavesh Patel                      Trade Debt            Liquidated                                           $25,000.00
22 9 Commerce Drive,                        855.237.9112
   Schaumburg, IL 60173                     bpatel@carepointrx.com


   Imprint Science                          Leela Ramdas                 Trade Debt                  Liquidated                                           $17,684.01
23 3 Columbus Circle Floor 7                212.614.5088
   New York NY 10019-8750                   Leelawattee.Ramdas@vmlyr.com


   Healthcare Alliance Group                Jill Kowalew                       Trade Debt            Liquidated                                           $14,914.98
24 101 Laurel Road, Suite 100               215.262.8047
   Voorhees, NJ 08043                       jkowalew@rmcom.net


   Mainehealth                              Melanie Hounchell                Trade Debt              Liquidated                                           $14,357.00
25 One Dana Court                           513.885.7435
   Westbrook ME 04092                       Melanie.Hounchell@mainehealth.or
                                            g

   CobbleStone Systems Corp                 Matthew Hughes                 Trade Debt                Liquidated                                           $13,894.25
26 428 S White Horse Pike                   866.330.0056 ext 1111
   Lindenwold, NJ 08021                     mhughes@cobblestonesoftware.co
                                            m

   InsightSoftware                          Christine Sadorra                   Trade Debt           Liquidated                                           $12,107.99
27 8529 Six Forks Road Ste 300              919.872.7800
    Raleigh NC 27615                        christine.sadorra@insightsoftware.c
                                            om

   Marketo                                  Nick Moore                         Trade Debt            Liquidated                                           $10,074.81
28 901 Mariners Island Blvd. Suite 500      970.390.9173
   San Mateo, CA 94404                      nmoore@adobe.com


   UW Center for Comotion                   Dennis A. Hanson, PhD,             Trade Debt            Liquidated                                           $10,000.00
29 4545 Roosevelt Way NE #400,              206.543.0430,
    Seattle, WA 98105                       hansonda@uw.edu


   PSKW, LLC (ConnectiveRx)                 Lea Quizon                         Trade Debt            Liquidated                                           $8,150.00
30 P.O. Box 825135                          908-809-6154,
   Philadelphia, PA 19182-5147              lea.quizon@connectiverx.com




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